                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION
UNITED STATES OF AMERICA,                              )
                                                       )
               Plaintiff,                              )
                                                       )
       v.                                              )       No. 21-03027-01-CR-S-RK
                                                       )
TAYLOR,                                                )
                                                       )
               Defendant.                              )
                                              ORDER

       Before the Court are 32 motions filed by Defendant personally. In several of the motions,

Defendant moves to fire her appointed counsel and be allowed to represent herself in this case.

(Docs. 28, 37, 42, 46, 47, 82.) Defendant also moves for a variety of other forms of relief, including

to amend her name in the case caption, to change venue, to dismiss the grand jury indictment, to

recuse the judges assigned to this case, for release, and for a hearing. (Docs. 28, 33, 37, 39, 41,

42, 43, 44, 45, 46, 47, 51, 54, 55, 56, 57, 59, 60, 61, 63, 64, 66, 67, 68, 71, 72, 73, 74, 77, 79, 81,

82.)

       First, on June 1, 2022, the undersigned conducted a status conference. (Doc. 83.) At the

conference, the undersigned took up the Motion for Dismissal of Attorney filed by Defendant on

May 9, 2022. (Doc. 78.) After discussing her rights with the undersigned, Defendant stated that

she was withdrawing her request to proceed pro se and wished to remain represented by appointed

counsel. As a result, the undersigned finds that the remaining motions to proceed pro se (docs. 28,

37, 42, 46, 47, 82) are MOOT.

       Next, regarding Defendant’s multiple requests to amend her name in this case to Taylor,

that relief has already been granted by order entered November 17, 2021. (Doc. 50.) Therefore,

Defendant’s motions to amend her name in the case caption are MOOT.




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       Lastly, as for the other requests for relief made by Defendant, in accordance with her

decision at the June 1, 2022 hearing, Defendant is and remains represented by counsel. And, as

the undersigned has advised previously, the Court will not consider pro se motions filed by a

represented party. Accordingly, the remainder of the relief requested by Defendant in her pro se

motions is DENIED without prejudice.

       IT IS SO ORDERED.

                                                   /s/ David P. Rush
                                                   DAVID P. RUSH
                                                   UNITED STATES MAGISTRATE JUDGE

DATE: June 2, 2022




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